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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY



   PENNEAST PIPELINE COMPANY,            CIVIL ACTION
   LLC,
   One Meridian Boulevard, Suite 2C01
   Wyomissing, PA 19610                  Docket 3:18-cv-1909-BRM-DEA
                          Plaintiff,
        vs.                              Electronically Filed

   A PERMANENT EASEMENT FOR
   0.17 ACRES ± IN HOPEWELL
   TOWNSHIP, MERCER COUNTY,
   NEW JERSEY, TAX PARCEL NO.
   1106-72-10.14,

   LEWIS AND MARGHERITA
   PEPPERMAN, NORTHFIELD
   BANKCORP, INC. AS SUCCESSOR-
   IN-INTEREST TO HOPEWELL
   VALLEY COMMUNITY BANK,
   LOANDEPOT.COM LLC D/B/A/
   MORTGAGE MASTER,
   PENNINGTON GARDENS, INC.,
   TOWNSHIP OF HOPEWELL;
   AND ALL UNKNOWN OWNERS,
                          Defendants.

              DECLARATION OF JAMES M. GRAZIANO, ESQ.

                     REGARDING PROOF OF SERVICE
       JAMES M. GRAZIANO, being duly sworn, upon my oath, deposes and says:
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        1.     I am a member of the Bar of the United States District Court for the

  District of New Jersey and am a partner with the law firm of Archer & Greiner, P.C.,

  attorneys for Plaintiff, the PennEast Pipeline Company, LLC in this matter.

        2.     I submit this Declaration to demonstrate that my firm has, in good faith,

  and in the manner required by the Federal Rules of Civil Procedure and all applicable

  statutes, supervised the efforts to serve the Order to Show Cause, Verified

  Complaint, Notice of Condemnation, Brief, Declaration of Daniel Murphy,

  Declaration of Jeff England, Proposed Order for Preliminary Injunction, Corporate

  Disclosure and Civil Cover Sheet (hereafter the “Pleadings”) on the Defendants in

  this case, and I have personal knowledge of the matters set forth herein.

        3.     I further submit this Declaration to detail the efforts made to serve

  parties who either have avoided service or cannot be served for the reasons set forth

  in more detail below. My office has taken numerous steps, often above and beyond

  the steps required by law, to locate each individual or entity with an interest in the

  property at issue in this case. This office carefully and diligently reviewed the title

  searches and property records and conducted internet searches to identify contact

  information for the various Defendants.

        4.     Set forth below are the efforts made by my office to serve each

  Defendant. The processes server’s affidavits are attached hereto as Exhibits.




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        5.     Our office served Defendants Lewis and Margherita Pepperman, the

  fee simple owners of the Property, on 3/2/18. A true and correct copy of the

  Affidavit of Service is attached hereto as Exhibit “A.”

        6.     Our office served Defendant Northfield Bankcorp, Inc., who has or may

  claim an interest in the Property, on 3/14/18. A true and correct copy of the Affidavit

  of Service is attached hereto as Exhibit “A.”

        7.     Our office served Defendant Loandepot.com, LLC, who has or may

  claim an interest in the Property, on 3/23/18. A true and correct copy of the Affidavit

  of Service is attached hereto as Exhibit “A.”

        8.     Our office served Defendant Township of Hopewell, who has or may

  claim an interest in the Property, on 3/6/18. A true and correct copy of the Affidavit

  of Service is attached hereto as Exhibit “A.”

        9.     Our office attempted service on Defendant Pennington Gardens, Inc.,

  who has or may claim an interest in the Property. According to title searches,

  municipal searches, and other searches, Pennington Gardens, Inc.’s address is 165

  Grand Avenue, Englewood, NJ 07631.

               a.     On 2/27/18, Plaintiff attempted to serve Pennington Gardens,

  Inc. at the above address. Pennington Gardens, Inc., however, could not be located.

  A true and correct copy of the Affidavit of Service is attached hereto as Exhibit “B.”




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                 b.   A review of the title records, Patriot search, municipal records

  and other records and internet searches revealed an alternate address for Pennington

  Gardens, Inc., P.O. Box 644, Englewood, NJ 07631.

                 c.   Counsel also obtained a Lexis Nexis Personal Report for

  Pennington Gardens, Inc., which did not identify any other address or contact

  information.

                 d.   After diligent inquiry and effort set forth above to serve

  Pennington Gardens, Inc. personally, it is apparent that personal service cannot be

  made in accordance with the Federal Rules of Civil Procedure.

                 e.   On 3/13/18, this Office sent Pennington Gardens, Inc. the

  Pleadings by certified mail, return receipt requested, and simultaneously by ordinary

  mail. True and correct copy of the signed Certified mail return receipt dated 3/16/18

  is attached as Exhibit “B.”

                 f.   Mr. Frederic Duhoc, on behalf of Pennington Gardens, Inc.

  contacted our office and indicated that he received the package but he did not have

  any interest in this property.

                 g.   This office performed additional Lexis Nexis Personal Reports,

  and internet searches regarding Pennington Gardens, Inc. However, our searches

  failed to reveal any alternate addresses and/or different entity doing business as

  Pennington Gardens, Inc.



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                h.    Pursuant to the Court’s Order dated April 20, 2018, for those

  Defendants who Plaintiff has not been able to serve personally, Plaintiff shall make

  one additional and final attempt, by certified and regular mail, to serve the

  Defendants for an opportunity to be heard on the Order to Show Cause that will take

  place on April 26, 2018. A true and correct copy of the Order dated 4/20/18 is

  attached hereto as Exhibit “C”.

                i.    On 4/20/18, this office sent Pennington Gardens, Inc. the

  Pleadings by certified mail, return receipt requested, and simultaneously by ordinary

  mail. A true and correct copy of Certified mailing receipt dated 4/20/18 is attached

  as Exhibit “C.”

          Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing is true and correct.


  Dated: April 25, 2018
                                         JAMES M. GRAZIANO, ESQUIRE



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